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                        IN THE UNITED STATES DISTRICT COURT
                         THE WESTERN DISTRICT OF ARKANSAS
                                TEXARKANA DIVISION

UNITED STATES OF AMERICA                                                                 Respondent


 v.                               No. 4:11-cr-40037-SOH-BAB-20
                                         No. 4:13-cv-4102

ALVIN WEEKLY                                                                               Movant



                                              ORDER

        Movant, an inmate currently confined to the Memphis Federal Correctional Institution,

Memphis, Tennessee, files this Motion for Leave to Appeal In Forma Pauperis (ECF No. 1525),

in connection with his appeal of this Court's denial of his Motion to Vacate, Set Aside, or Correct

Sentence under 28 U.S.C. § 2255. I have reviewed the Application and find that Movant is entitled

to proceed in forma pauperis on appeal.1

        IT IS HEREBY ORDERED that the Motion for Leave to Appeal In Forma Pauperis (ECF

No. 1525) is GRANTED, and Petitioner is entitled to proceed with this matter without prepayment

of fees or costs.

        ENTERED this 28th day of May 2015.


                                                        /s/ Barry A. Bryant
                                                       HON. BARRY A. BRYANT
                                                       U.S. MAGISTRATE JUDGE




        1
        I note United States District Judge Susan O. Hickey denied Movant's Motion for Certificate of
Appealability on May 26, 2015. ECF No. 1527.
